                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                           )
                                                   )      Case No. 1:10-cr-46
vs.                                                )
                                                   )      JUDGE MATTICE
MICHAEL JOHNSON                                    )



                              MEMORANDUM AND ORDER

       MICHAEL JOHNSON (“Supervised Releasee”) appeared for an initial appearance before
the undersigned on October 15, 2014, in accordance with Rule 32.1 of the Federal Rules of
Criminal Procedure on the Petition for Warrant for Offender Under Supervision (“Petition”).
Those present for the hearing included:

              (1) An Assistant United States Attorney for the Government.
              (2) The Supervised Releasee.
              (3) Attorney Myrlene Marsa for defendant.

       After being sworn in due form of law, the Supervised Releasee was informed or
reminded of his privilege against self-incrimination accorded him under the 5th Amendment to
the United States Constitution.

        It was determined the Supervised Releasee wished to be represented by an attorney and
he qualified for the appointment of an attorney to represent him at government expense.
Federal Defender Services of Eastern Tennessee, Inc. was APPOINTED to represent the
defendant. It was determined the Supervised Releasee had been provided with a copy of the
Petition and the Warrant for Arrest and had the opportunity of reviewing those documents with
his attorney. It was also determined he was capable of being able to read and understand the
copy of the aforesaid documents he had been provided

       The Supervised Releasee waived his right to a preliminary hearing and detention hearing.

        The Government moved defendant be detained pending a hearing to determine whether
his term of supervision should be revoked.




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                                        Findings

     (1) Based upon the Petition and Supervised Releasee=s waiver of preliminary
     hearing and detention hearing, the undersigned finds there is probable cause to
     believe the Supervised Releasee has committed violations of his conditions of
     supervised release as alleged in the petition.

                                       Conclusions

     It is ORDERED:

     (1) The Supervised Releasee shall appear in a revocation hearing before U.S.
     District Judge Harry S. Mattice, Jr.

     (2) The motion of the Government that Supervised Releasee be DETAINED
     WITHOUT BAIL pending his revocation hearing before Judge Mattice is
     GRANTED.

     (3) The U.S. Marshal shall transport Supervised Releasee to a revocation hearing
     before Judge Mattice on Friday, November 21, 2014, at 10:00 am.

     ENTER.

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                                         UNITED STATES MAGISTRATE JUDGE




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